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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 06-60168-CR-COHN/SNOW

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  FRANK DESENA,

             Defendant.
  ______________________________/

                        ORDER DENYING MOTION FOR NEW TRIAL

         THIS CAUSE is before the Court upon Defendant Frank Desena’s Motion for

  New Trial [DE 101]. T he Court has considered the Motion and is otherwise duly

  advised in its premises.

         Defendant moves for a new trial, pursuant to Fed. R. Crim. P. 33, arguing that

  the weight of the evidence was such that the verdicts should not be sustained, the

  Court erred on a number of legal rulings during the trial, the Court erroneously declined

  to give the Defendant’s requested jury instructions, and the Defendant was denied due

  process because of false testimony by government witness Lichtman. The Court has

  carefully considered each of the Defendant’s arguments, but finds them to be without

  merit. The Court does not find that the interest of justice requires a new trial in this

  matter. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendant’s Motion for New Trial [DE 101] is

  DENIED.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,
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  Florida, on this 19th day of March, 2007.




  Copies provided to:

  Counsel of record




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